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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No. 00-cr-00481-WYD

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 MICHAEL LAVALLEE,
 ROD SCHULTZ,
 ROBERT VERCIKAS,

        Defendants.



                          GOVERNMENT’S NOTICE OF DISCLOSURE


        The United States, by and through its undersigned counsel, pursuant to its ongoing

 constitutional obligations, hereby notifies defense counsel of facts which potentially bear upon

 the credibility of one of the government’s trial witnesses in the above captioned case. Douglas

 V. Brennan, a witness called by the government in the trial of this matter, was indicted by a

 federal grand jury in the District of Colorado on May 17, 2006, for falsifying expense accounts in

 relation to travel and lodging expenses he incurred in connection with the instant case. See

 Indictment (attached).

                                           I. Disclosure

        The investigation of the matter has been handled by the District of Utah. Neither

 Assistant United States Attorney (AUSA) Robert Mydans nor any attorney from the Department

 of Justice, Civil Rights Division, was provided information about the ongoing investigation, nor

 were they informed about the pendency of the Indictment. Mr. Mydans was first informed of the
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 allegations and Indictment on May 17, 2006, while DOJ attorneys first learned of the allegations

 and Indictment on May 18, 2006.

        Preliminary inquiry of the AUSA prosecuting Brennan has not revealed any information

 bearing upon Brennan’s credibility beyond the allegations contained in the Indictment. The

 government is in the process of making arrangements to review Brennan’s investigative file, or

 have it reviewed, in a manner which will protect the integrity of the ongoing Brennan prosecution

 while ensuring that, should the file contain any additional exculpatory or impeachment

 information, it is immediately identified and produced to the defendants.

                                     II. Brennan’s Testimony

        Brennan, while nominally a case agent, was a minor witness at trial whose testimony

 pertained to an acquitted count of the Indictment. His testimony related to allegations, set forth

 in Count III of the Superseding Indictment, that Felton Wiggins was beaten by correctional

 officers. Brennan was not an eyewitness to the incident but, instead, summarized documents,

 including logbooks, inmate admission and release logs, and daily assignment rosters. The

 original documents which formed the basis of his testimony were admitted into the record by

 stipulation. Brennan’s trial testimony therefore had no bearing upon the counts for which any of

 the defendants were convicted. Thus, neither the fact of Brennan’s Indictment, nor any

 additional impeachment information which may be uncovered as a result of the investigation and

 prosecution of his conduct, would constitute grounds for post-conviction relief.

                                           III. Conclusion

        The government hereby submits this notice of disclosure of information to the defendants

 in accordance with its constitutional obligations.


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                                    Respectfully Submitted,

                                    WILLIAM J. LEONE
                                    United States Attorney




                                   /s
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                                CERTIFICATE OF SERVICE

        I certify that on this 23rd day of May 2006, I electronically filed the foregoing
 GOVERNMENT’S NOTICE OF DISCLOSURE with the Clerk of the Court using the CM/ECF
 system which will send notification of such filing to the following e-mail addresses:

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